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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

   UNITED STATES OF AMERICA,
   Plaintiff,                                                Criminal No. 17-583(FAB)

   v.

   [1] FABIAN SANTOS-MORALES ET AL.,
   Defendants.

             UNITED STATES OF AMERICA’S DESIGNATION OF EVIDENCE

TO THE HONORABLE COURT:

          COMES NOW the United States of America, by and through the undersigned attorneys,

and STATES THAT PURSUANT TO Rule 12(b)(4)(A) of the Federal Rules of Criminal

Procedure, it is providing notice that it intends to use in its case-in chief the following evidence

which has been provided in discovery and/or made available for inspection:

  Item #                                    Description
     1.       All evidence seized on Feb-13-2007, at Ignacio Morales Davila Public Housing
              Project, in Naguabo, Puerto Rico upon the arrest of [1] Fabian Santos-Morales and
              other persons, and related to PRPD complaint number 2007-4-053-00680, including
              but not limited to:
                  • 319 Heroin Decks,
                  • 274 Cocaine Baggies,
                  • 140 Marihuana Baggies,
                  • 77 cocaine base vials,
                  • .45 caliber Glock Automatic Pistol S/N BNX-302US,
                  • 9mm caliber Glock Automatic Pistol, with Obliterated Serial Number,
                  • 9mm caliber Taurus Pistol PT99AF, S/N L44696,
                  • Ruger Pistol P85MKII, S/N 303-03880,
                  • 9MM Ruger pistol P95DC, with obliterated serial number,
                  • Ammunition of different calibers,
                  • Plastic Baggies,
                  • Photos of the evidence seized,
     2.       The event of the murder of Dinaymarie Sosias-Mercado committed on February 22,
              2010 at Road 992 Colinas de Luquillo, Puerto Rico; and related to PRPD complaint
              number 2010-12-046-0615, and all related evidence including but not limited to:

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         • Photos of the murder scene,
         • Autopsy Report,
         • Photos of the area where the event took place,
         • Photos of the victim,
         • All evidence collected at the crime scene,
3.   The event of a double murder of Efrain and Juan Carlos Morales Torres committed
     on March 29, 2012 Road 975, La Paloma Sector, Ceiba Puerto Rico; and related to
     PRPD complaint number 2012-12-019-00711, and all related evidence including but
     not limited to:
         • Murder scene photographs,
         • Autopsy reports,
         • Crime scene sketch,
         • Photos of the area where the murders took place,
         • Photos of the victims,
         • All evidence collected at the crime scene,.
4.   The event of the double murder of Angel Yamil De Jesus, and Luis Manuel Quinonez
     committed on November 23, 2012 at Casablanca Luquillo, Puerto Rico; and related
     to PRPD complaint number 2012-12-046-3483, and all related evidence including
     but not limited to:
           • Autopsy reports,
           • Photos of the murder scene,
           • Photos of the area where the event took place,
           • Photos of the victims,
           • All evidence collected at the murder scene,
5.   The event of the double murder of Ursulino Ayala and Jonathan Albarran
     committed on December 24, 2012 at Road 983 Luquillo, Puerto Rico; and related
     to PRPD complaint number 2012-12-046-3793, and all related evidence including
     but not limited to:
     •       Autopsy reports,
     •       Murder scene photographs,
     •       All evidence collected at the murder scene including from a Toyota Corolla
             license plate ICO 436.
6.   The event of the arrest of [1] Fabian Santos-Morales at La Llave del Mar Restaurant,
     on SEP-28-2013, and all evidence seized upon it, and related to PRPD Complaint
     Number 2013-9-400-00332; including but not limited to:
         • Search and seizure warrant,
         • Photos of Honda Accord vehicle GSG-766 with hidden compartment, and all
             photos of the evidence seized,
         • Vehicle registration,
         • Certificate of vehicle inspection,
         • Glock .40 caliber pistol, model 27, serial LND936,
         • Fake ID, Driver’s license with DAVID Report,


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          • Traffic tickets with fake ID,
7.    The event of the arrest of [1] Fabian Santos-Morales on December 6, 2017 and all
      evidence seized upon it, including but not limited to:
           • Glock .40 caliber pistol, model 27, serial number REC616, with 3 loaded
              pistol magazines,
           • US currency,
           • Cell phones,
           • Documents,
           • One radio jammer,
           • Laptop,
           • Garmin GPS,
           • One press,
           • Money counting machine,
           • Paraphernalia,
           • Approximately one pound of marihuana,
           • All photos of the evidence seized and places searched,
           • Consent to search,
           • Advise of Rights Form,
8.    Surveillance video recorded on November 6, 2015 showing [1] Fabian Santos-
      Morales and [5] Luis M. Rodriguez-Moreno at a parking lot, and all still images
      derived from the video,
9.    Surveillance video recorded on August 14, 2017 at Los Colobos Park, Carolina
      Puerto Rico, showing a residence and a SUV with plates HEU896 parked in front of
      it,
          • DAVID report of the SUV HEU896,
10.   All evidence seized on JAN-19-2011, at building 6, apartment 71 at El Cemi PHP,
      Luquillo, Puerto Rico and related to PRPD Complaint Number 2011-12-046-00165,
      including but not limited to:
          • AK-47 rifle loaded with 30 rounds of ammunition,
          • AK-47 rifle magazine loaded with 30 rounds of ammunition,
          • 2 loaded .40 caliber pistol magazines,
          • Bulletproof vest,
          • Photos of the evidence seized,
          • Photos of the area where the evidence was seized,
11.   All evidence seized from [3] Jonathan Guzman on May 29, 2009, at Rio Plantation,
      Bayamon, PR. and related to PRPD complaint number 09-7-400-0417, including but
      not limited to:
          • 40 crack vials,
          • Photos of the evidence seized,
12.   All evidence seized from [3] Jonathan Guzman on July 13, 2015, at El Cemi,
      Building 4, stairs area and related to PRPD complaint number 2015-12-400-0236,
      including but not limited to:
          • 29 heroin decks,


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          • 11 marihuana baggies,
          • 11 crack vials,
          • 6 cocaine baggies,
          • Photos of evidence seized,
13.   All evidence seized from [3] Jonathan Guzman on July 14, 2015 at El Cemi PHP,
      and related to PRPD criminal complaint 2015-12-400-0238, including but not
      limited to:
          • 19 cocaine baggies,
          • 4 marihuana baggies,
          • 22 heroin decks,
          • 7 cocaine base vials,
          • $119,
          • Photos of the evidence seized,
14.   All evidence seized from [4] Axel Omar Mendez-Carrasco on September 15, 2017,
      including but not limited to:
          • Glock .40 caliber pistol, model 27, serial number MPR-693,
          • 1 pistol magazine with 7 rounds of .40 caliber ammunition,
          • 2-way radio,
          • 1 marihuana baggie,
          • 1 black sling bag,
          • Photos of the evidence seized,
15.   All evidence seized from [6] Efrain Flores-Garcia and [9] Angel Cruz-Fargas on
      January 8, 2015 at El Cemi PHP, and related to PRPD criminal complaint number
      2015-12-400-0014, including but not limited to:
          • 495 cocaine base vials,
          • 47 marihuana baggies,
          • 364 heroin decks,
          • $1004,
          • 4 radio scanners black,
          • 1 tally notebook,
          • 6 cell phones,
          • Photos of the evidence seized,
16.   All evidence seized from [7] Jose C. Canales-Perez on Oct 16, 2014, at Luquillo
      Market Plaza, and related to PRPD complaint number 2014-12-400-0388, including
      but not limited to:
          • 1 marihuana cigar,
          • Glock 9mm pistol model 26 S/N RYX559,
          • 1 magazine with 19 rounds of ammunition,
          • $10,
          • Photos of the evidence seized,



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17.   All evidence seized from [7] Jose C. Canales-Perez and [13] Carlos Ramos on Oct
      17, 2014 at building 4 El Cemi PHP, and related to PRPD criminal complaint number
      2014-12-400-0392, including but not limited to:
          • One Glock .45 caliber pistol,
          • 154 rounds of .45 caliber ammunition,
          • 50 baggies of cocaine,
          • 347 decks of heroin,
          • 149 cocaine base vials,
          • 57 baggies of marihuana,
          • 1 bag with 40g. of heroin,
          • US currency,
          • Photos of the evidence seized,
18.   All evidence seized from [8] Eduardo Rodriguez on December 16, 2013, by Fajardo
      Narcotics Unit at El Cemi PHP building 6, apt. 72, upon execution of search warrant,
      and related to PRPD criminal complaint number 2013-12-400-0374, including but
      not limited to:
          • $3,204,
          • Search warrant,
          • 4 cell phones,
          • Two 2-way radios,
          • Binoculars,
          • Ledgers,
          • Photo of the evidence seized,
19.   All evidence obtained from [9] Angel Cruz-Fargas on March 20, 2013 during a buy
      walk at El Cemi PHP, including but not limited to:
          • 4 cocaine base vials,
          • Video recording of the buy walk,
          • Photos of the evidence seized,
20.   Surveillance audio and video recorded on June 21, 2013 by PRPD Strike Force Unit
      at El Cemi PHP, in which [10] Manuel Abreu appears selling and talking through a
      2-way radio.
21.   All evidence seized from [11] Pedro Garcia on August 26, 2013, at Route 66 by
      Carolina Highway Patrol, and related to PRPD complaint number 2013-8-299-0534,
      including but not limited to:
          • 1 shell casing .40, located on the dash,
          • 1 Glock pistol model 22 .40 caliber s/n SAZ035, located between the seats,
          • 1 magazine with 13 rounds,
          • Photos of the crime scene and evidence seized,
22.   PRPD Strike Force Unit surveillance audio and video recorded on March 14, 2013,
      at El Cemi PHP, showing [11] Pedro Garcia with radio scanner at the housing
      project.
23.   PRPD Strike Force Unit surveillance audio and video recorded on April 19, 2013
      showing [11] Pedro Garcia talking through 2-way radio,


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24.   DEA audio and video recorded controlled buy, made on April 20, 2013, at El Cemi
      PHP and the 5 cocaine base vials obtained,
25.   Surveillance video recorded on El Cemi PHP, recorded on April 19, 2013,
26.   DEA audio and video recorded controlled buy, made on April 10, 2013, at El Cemi
      PHP, and the 7 cocaine base vials obtained,
27.   All evidence seized at Building 4, Apt. 35, at El Cemi PHP as a result of a search
      consented by [12] Armando Mujica, on June 27, 2013, and not limited to:
          • Ledgers,
          • Documents,
28.   DEA audio and video recorded controlled buy, made on January 14, 2015, at El
      Cemi PHP, and the 8 cocaine base vials obtained,
29.   DEA audio and video recorded controlled buy walk, made on April 20, 2013, at El
      Cemi PHP, and the 5 cocaine base vials obtained,
30.   Surveillance video recorded on June 20, 2013 at El Cemi PHP,
31.   All evidence seized from [15] Jose Rosa-Garcia on January 14, 2009, at El Cemi,
      Building 1, apt. 5, including but not limited to:
          • a grey S&W, 9mm caliber pistol, serial number TZ56804,
          • 30 cocaine baggies,
          • 52 heroin decks,
          • Photos of the evidence seized,
32.   DEA audio and video recorded controlled buy, made on April 4, 2013, at El Cemi
      PHP, and the 6 cocaine base vials obtained,
33.   Surveillance video and audio, recorded on April 19, 2013 at El Cemi PHP,
34.   Surveillance video and audio, recorded on June 20, 2013, at El Cemi PHP,
35.   Surveillance video and audio, recorded on June 21, 2013, at El Cemi PHP,
36.   All evidence seized from [15] Jose Rosa-Garcia, on December 20, 2013, at El Cemi
      PHP, including but not limited to:
          • a Glock .40 caliber pisol, model 23, serial UKH834, with magazines and
              ammunition,
          • a black radio scanner,
37.   All evidence seized from [15] Jose Rosa-Garcia, on March 9, 2016, at El Cemi
      PHP, including but not limited to:
          • 9 cocaine base vials,
          • 6 cocaine baggies,
          • 5 marihuana baggies,
          • a radio scanner,
          • $23,
38.   DEA audio and video recorded controlled buy, made at El Cemi PHP on May 15,
      2014, and the 12 cocaine base vials obtained,
39.   DEA audio and video recorded controlled buy, made on November 3, 2015, at El
      Cemi PHP, and the 8 cocaine base vials obtained,
40.   Controlled substances obtained from [16] Elvin Davila, on March 24, 2016, as a
      result of an undercover operation,
41.   DEA audio and video recorded controlled buy, made on May 15, 2014, at El Cemi
      PHP and the 12 cocaine base vials obtained,

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     42.       DEA audio and video recorded controlled buy made on November 3, 2015, at El
               Cemi PHP and the 8 cocaine base vials obtained,
     43.       All evidence seized from [17] Benny Ayala-Ortega on August 19, 2016, at El Cemi
               PHP, including but not limited to:
                   • 15 cocaine base vials,
                   • 15 cocaine baggies,
                   • 6 marihuana baggies,
                   • $382,
     44.       All evidence seized from [19] Leandro Ayala-Ortega on September 7, 2015, at El
               Cemi PHP, by Fajardo Narcotics Division, and related to PRPD criminal complaint
               2015-12-400-0306, including but not limited to:
                   • 124 cocaine baggies,
                   • 98 marihuana baggies,
                   • 222 heroin decks gold colored,
                   • 314 cocaine base vials,
                   • Photos of the evidence seized,
     45.       Aerial photos of El Cemi and Yukiyu Public Housing Projects, and bordering
               areas,
     46.       Public Housing Authority Certifications for El Cemi and El Yukiyu Public Housing
               Project,
     47.       Aerial photos of the area of Luquillo, Puerto Rico.


       The United States reserves the right to amend this Designation of Evidence prior to trial.

       WHEREFORE, the United States of America respectfully requests this Honorable Court

to take notice of the above.

       RESPECTFULLY SUBMITTED.

           In San Juan, Puerto Rico, this 3rd day of June, 2019
                                                        ROSA EMILIA RODRIGUEZ-VELEZ
                                                        United States Attorney

                                                        S/César S. Rivera Giraud
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

attorneys of record. In San Juan, Puerto Rico, on June 3, 2019.

                                                    s/César S. Rivera-Giraud
                                                    César S. Rivera-Giraud
                                                    Assistant United States Attorney
                                                    G00806




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